 1   Albert N. Kennedy, OSB No. 821429 (Lead Attorney)
        Direct Dial: 503.802.2013
 2      Facsimile: 503.972.3713
        E-Mail:      albert.kennedy@tonkon.com
 3   Timothy J. Conway, OSB No. 851752
        Direct Dial: (503) 802-2027
 4      Facsimile: (503) 972-3727
        E-Mail:      tim.conway@tonkon.com
 5   Michael W. Fletcher, OSB No. 010448
        Direct Dial: (503) 802-2169
 6      Facsimile: (503) 972-3867
        E-Mail:      michael.fletcher@tonkon.com
 7   Ava L. Schoen, OSB No. 044072
        Direct Dial: (503) 802-2143
 8      Facsimile: (503) 972-3843
        E-Mail:      ava.schoen@tonkon.com
 9   TONKON TORP LLP
     888 SW Fifth Avenue, Suite 1600
10   Portland, OR 97204-2099

11           Attorneys for Debtors

12

13                               UNITED STATES BANKRUPTCY COURT
14                                        DISTRICT OF OREGON
15   In re                                                Case No. 19-62584-pcm11
16   NORPAC Foods, Inc.,
17                                   Debtor.
18
     In re                                                Case No. 19-33102-pcm11
19
     Hermiston Foods, LLC,
20
                                     Debtor.
21
     In re                                                Case No. 19-33103-pcm11
22
     Quincy Foods, LLC,                                   DEBTORS’ MOTION FOR ORDER
23                                                        DIRECTING JOINT ADMINISTRATION
                                     Debtor.              PURSUANT TO FRBP 1015(b)
24
                                                          EXPEDITED HEARING REQUESTED
25

26

Page 1 of 6 - DEBTORS’ MOTION FOR ORDER DIRECTING JOINT ADMINISTRATION
              PURSUANT TO FRBP 1015(b)
                                                   Tonkon Torp LLP
                                               888 SW Fifth Ave., Suite 1600
                                                    Portland, OR 97204
                                                      503.221.1440
                             Case 19-62584-pcm11              Doc 4            Filed 08/22/19
 1                  Debtors and Debtors-in-Possession NORPAC Foods, Inc. (“NORPAC”),

 2   Hermiston Foods, LLC (“Hermiston Foods”), and Quincy Foods, LLC (“Quincy Foods”)

 3   (together, “Debtors”) by and through their undersigned counsel, hereby submit this motion

 4   pursuant to Rule 1015 of the Federal Rules of Bankruptcy Procedure for entry of an order

 5   directing joint administration and procedural consolidation of the above Chapter 11 Cases. In

 6   support of the Motion, Debtors incorporate the statements contained in the Declaration of

 7   Winston Mar in Support of First Day Motions filed contemporaneously herewith, and further

 8   state as follows:

 9                                   JURISDICTION AND VENUE

10                  1.      This Court has jurisdiction over the matter pursuant to 28 U.S.C. §§ 157

11   and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is

12   proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicate for the

13   relief requested herein is Rule 1015 of the Federal Rules of Bankruptcy Procedure (the

14   “Bankruptcy Rules”).

15                                           BACKGROUND

16                  2.      On August 22, 2019, Debtors commenced voluntary petitions for relief

17   under Chapter 11 of the Bankruptcy Code.

18                  3.      NORPAC, a farmer-owned cooperative, along with its wholly-owned

19   subsidiaries Hermiston Foods and Quincy Foods, is the largest independent, standalone

20   processor of high-quality organic and conventional frozen vegetables and fruits in the Pacific

21   Northwest. NORPAC owns raw processing plants in Brooks, Oregon, and Stayton, Oregon, a

22   packaging plant and corporate headquarters building in Salem, Oregon, a harvesting operation in

23   Hermiston, Oregon, and a raw processing, roasting, and packing plant in Quincy, Washington.

24   Debtors have over 1,125 full-time employees along with up to 1,100 seasonal employees.

25                  4.      Debtors have a diverse supplier base built on an extensive network of over

26   220 contract growers made up of family-owned farms (145 farms in Oregon and 75 farms in

Page 2 of 6 - DEBTORS’ MOTION FOR ORDER DIRECTING JOINT ADMINISTRATION
              PURSUANT TO FRBP 1015(b)
                                                   Tonkon Torp LLP
                                               888 SW Fifth Ave., Suite 1600
                                                    Portland, OR 97204
                                                      503.221.1440
                            Case 19-62584-pcm11               Doc 4            Filed 08/22/19
 1   Washington) spanning more than 40,000 acres. Debtors have long-term, established

 2   relationships with a global blue-chip customer base of over 1,250 customers, spanning the retail,

 3   foodservice, club, export, and industrial channels.

 4                  5.      Additional information and background regarding Debtors' history, assets,

 5   structure, operations, and business are contained in the Declaration of Winston Mar in Support of

 6   First Day Motions filed contemporaneously herewith.

 7                         RELIEF REQUESTED AND BASIS THEREFOR

 8                  6.      By this application, Debtors seek entry of an order directing joint

 9   administration and procedural consolidation, pursuant to Rule 1015(b) of the Bankruptcy Rules,

10   of the above-captioned Chapter 11 cases. Rule 1015(b) provides, in relevant part:

11
                    If * * * two or more petitions are pending in the same court by
12                  * * * a debtor or an affiliate, the court may order a joint
                    administration of the estates.
13

14                  7.      Debtors believe that joint administration of these Chapter 11 cases is

15   warranted because:

16                          a.     The financial affairs and businesses of Debtors are closely related;

17                          b.     Administrative and operational services are shared by and among

18   Debtors;

19                          c.     Debtors share common management;

20                          d.     Debtors intend to file a joint plan of reorganization and sale of

21   assets; and

22                          e.     Entry of an order directing joint administration of these cases will

23   obviate the need for duplicative notices, applications, and orders, and will thereby save

24   considerable time and expenses for Debtors and result in substantial savings to the respective

25   estates.

26

Page 3 of 6 - DEBTORS’ MOTION FOR ORDER DIRECTING JOINT ADMINISTRATION
              PURSUANT TO FRBP 1015(b)
                                                   Tonkon Torp LLP
                                               888 SW Fifth Ave., Suite 1600
                                                    Portland, OR 97204
                                                      503.221.1440
                           Case 19-62584-pcm11                Doc 4            Filed 08/22/19
 1                  8.      Joint administration will also permit the clerk to use a single general

 2   docket for all Debtors’ cases and to combine notices to creditors and other parties-in-interest

 3   herein. Joint administration will ensure, in each of Debtors’ respective Chapter 11 cases, that

 4   each party in interest will be apprised of any matter before the Court in each Chapter 11 case.

 5                  9.      By reason of the foregoing, Debtors submit that the interests of its

 6   creditors, their estates, and other parties-in-interest will be best served by joint administration of

 7   these cases. Accordingly, Debtors request that the Chapter 11 Cases be administered under a

 8   consolidated caption, as follows:

 9                              UNITED STATES BANKRUPTCY COURT

10                                        DISTRICT OF OREGON

11
     In re                                                            Case No. 19-62584-pcm11
12                                                                    LEAD CASE
     NORPAC Foods, Inc. (TIN 9330),
13   Hermiston Foods, LLC (TIN 3927, and                              (Jointly Administered with Case
     Quincy Foods, LLC (TIN 7444),                                    Nos. 19-19-33102-pcm11 and
14                                                                    19-19-33102-pcm11
                            Debtors.
15

16                  Debtors submit that use of this caption will eliminate cumbersome and confusing
17   procedures and ensure a uniformity of identification.
18                  10.     Furthermore, the rights of each Debtor’s respective creditors will not be
19   adversely affected by joint administration of these cases because the relief sought herein is
20   purely procedural at this time, and is not intended to affect substantive rights. The rights of all
21   creditors will be enhanced by reduction in costs resulting from joint administration. This Court
22   will also be relieved of the burden of entering duplicative orders and maintaining duplicative
23   files. Supervision of the administrative aspects of these Chapter 11 cases by the United States
24   Trustee will also be simplified.
25

26

Page 4 of 6 - DEBTORS’ MOTION FOR ORDER DIRECTING JOINT ADMINISTRATION
              PURSUANT TO FRBP 1015(b)
                                                     Tonkon Torp LLP
                                                 888 SW Fifth Ave., Suite 1600
                                                      Portland, OR 97204
                                                        503.221.1440
                            Case 19-62584-pcm11                 Doc 4            Filed 08/22/19
 1                  11.     Debtors also request that an entry be made on the docket of the Hermiston

 2   Foods, LLC and Quincy Foods, LLC Chapter 11 Cases that is substantially similar to the

 3   following:

 4                  An order has been entered in accordance with Rule 1015(b) of the
                    Federal Rules of Bankruptcy Procedure directing joint
 5                  administration and procedural consolidation of the Chapter 11
                    cases of NORPAC Foods, Inc., Hermiston Foods, LLC, and
 6                  Quincy Foods, LLC [ECF No. _____]. All further pleadings and
                    other papers shall be filed in, and all further docket entries shall be
 7                  made in, NORPAC Foods, Inc., Case No. 19-_____-_____.
 8                  12.     In summary, Debtors request that their Chapter 11 cases be jointly

 9   administered for procedural purposes to the extent of the following:

10                          a.       One docket shall be maintained for Debtors’ cases, under the case

11   number assigned to NORPAC Foods, Inc.. All pleadings, orders, and other papers filed shall be

12   captioned with the style reflected above, and shall reflect that the cases are being jointly

13   administered under the case number assigned to NORPAC Foods, Inc.

14                          b.       Counsel for Debtors shall prepare and maintain one “Consolidated

15   Short Service List” which reflects all parties-in-interest of all Debtors, and shall prepare and

16   maintain a separate “Master Service List” for each Debtor that further meets the requirements of

17   any order the Court may enter in these cases regarding limitation of notice (the “Master Service

18   List” is also known as the “Creditor Mailing List” or “Matrix” which is of record for each of

19   Debtors’ cases individually);

20                          c.       Each Debtor shall file separate Schedules of Assets and Liabilities,

21   Statements of Financial Affairs, and Lists of Equity Security Holders;

22                          d.       Debtors will file separate Monthly Operating Reports pursuant to

23   Rule 2015 in the form(s) requested by the Unites States Trustee; and

24                          e.       Proofs of claims or interests filed by creditors of any Debtor shall

25   reflect the style and case number of the Debtor to which the claim or interest relates and shall be

26

Page 5 of 6 - DEBTORS’ MOTION FOR ORDER DIRECTING JOINT ADMINISTRATION
              PURSUANT TO FRBP 1015(b)
                                                     Tonkon Torp LLP
                                                 888 SW Fifth Ave., Suite 1600
                                                      Portland, OR 97204
                                                        503.221.1440
                            Case 19-62584-pcm11                 Doc 4            Filed 08/22/19
 1   filed in the case to which such claim or interest relates. Separate claims registers shall be

 2   maintained for each Debtor.

 3                  13.     A copy of the proposed Order Directing Joint Administration Pursuant to

 4   FRBP 1015(b) is attached hereto as Exhibit 1.

 5                  WHEREFORE, NORPAC Foods, Inc., Hermiston Foods, LLC, and Quincy

 6   Foods, LLC, respectfully request that this Court enter an order, substantially in the form attached

 7   hereto as Exhibit 1, authorizing the joint administration and directing procedural consolidation

 8   of the above-captioned Chapter 11 cases substantially in the form proposed, and granting such

 9   other and further relief as may be just and proper.

10                  DATED this 22nd day of August, 2019.

11                                                   TONKON TORP LLP
12

13                                                   By /s/ Albert N. Kennedy
                                                        Albert N. Kennedy, OSB No. 821429
14                                                      Timothy J. Conway, OSB No. 851752
                                                        Michael W. Fletcher, OSB No. 010448
15                                                      Ava L. Schoen, OSB No. 044072
                                                        Attorneys for Debtors
16

17

18

19

20

21

22

23

24

25

26

Page 6 of 6 - DEBTORS’ MOTION FOR ORDER DIRECTING JOINT ADMINISTRATION
              PURSUANT TO FRBP 1015(b)
                                                    Tonkon Torp LLP
                                                888 SW Fifth Ave., Suite 1600
                                                     Portland, OR 97204
                                                       503.221.1440
                           Case 19-62584-pcm11                 Doc 4            Filed 08/22/19
 EXHIBIT 1
PROPOSED FORM OF ORDER




Case 19-62584-pcm11   Doc 4   Filed 08/22/19
                         UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF OREGON

In re                                                       Case No. 19-62584-pcm11

NORPAC Foods, Inc.,

                             Debtor.

In re                                                       Case No. 19-33102-pcm11

Hermiston Foods, LLC,

                             Debtor.

In re                                                       Case No. 19-33103-pcm11

Quincy Foods, LLC,                                          ORDER DIRECTING JOINT
                                                            ADMINISTRATION PURSUANT TO
                             Debtor.                        FRBP 1015(b)

                THIS MATTER having come before the Court upon Debtors’ Motion for Order

Directing Joint Administration Pursuant to FRBP 1015(b) (the “Motion”) [ECF No. _____], a

hearing having been held before the Court, and the Court being duly advised in the premises and

finding good cause; now, therefore,


Page 1 of 4 -    ORDER DIRECTING JOINT ADMINISTRATION PURSUANT TO
                 FRBP 1015(b)
                                              Tonkon Torp LLP
                                          888 SW Fifth Ave., Suite 1600
                                               Portland, OR 97204
                                                 503.221.1440
                      Case 19-62584-pcm11                Doc 4            Filed 08/22/19
                IT IS HEREBY ORDERED that:

                1.     The Motion is GRANTED.

                2.     The Chapter 11 cases of NORPAC, Inc., Hermiston Foods, LLC, and

Quincy Foods, LLC be and hereby are procedurally consolidated and shall be jointly

administered by the Court:

                3.     All pleadings, orders, and other papers shall be captioned with the

following style and shall reflect that the cases are jointly administered:

                            UNITED STATES BANKRUPTCY COURT

                                     DISTRICT OF OREGON

In re                                                            Case No. 19-62584-pcm11
                                                                 LEAD CASE
NORPAC Foods, Inc. [TIN 9330],
Hermiston Foods, LLC [TIN 3927], and                             (Jointly Administered with Case
Quincy Foods, LLC [7444],                                        Nos. 19-19-33102-pcm11 and
                                                                 19-19-33102-pcm11
                       Debtors.

                4.     A docket entry shall be made in each of the above-captioned cases

substantially as follows:

                An order has been entered in accordance with Rule 1015(b) of the
                Federal Rules of Bankruptcy Procedure directing joint
                administration and procedural consolidation of the Chapter 11
                cases of NORPAC Foods, Hermiston Foods, LLC, and Quincy
                Foods, LLC [ECF No. _____]. All further pleadings and other
                papers shall be filed in, and all further docket entries shall be made
                in, NORPAC Foods, Inc., Case No. 19-___________.
                5.     One docket shall be maintained for Debtors’ cases, under the case number

assigned to NORPAC Foods, Inc. All pleadings, orders, and other papers filed shall be

captioned with the style reflected above, and shall reflect that the cases are being jointly

administered under the case number assigned to NORPAC Foods, Inc.

                6.     The United States Trustee shall conduct joint informal meetings with

Debtors, if required, and a joint first meeting of creditors;

Page 2 of 4 -    ORDER DIRECTING JOINT ADMINISTRATION PURSUANT TO
                 FRBP 1015(b)
                                                Tonkon Torp LLP
                                            888 SW Fifth Ave., Suite 1600
                                                 Portland, OR 97204
                                                   503.221.1440
                       Case 19-62584-pcm11                 Doc 4            Filed 08/22/19
                7.     The clerk will continue to maintain separate mailing lists for creditors for

each case as though this order had not been entered. This order does not modify any notice

obligation imposed by law;

                8.     Each Debtor shall file separate Schedules of Assets and Liabilities,

Statements of Financial Affairs, and Lists of Equity Security Holders;

                9.     Each Debtor shall file separate Monthly Operating Reports pursuant to

Rule 2015 in the form(s) requested by the Unites States Trustee, unless otherwise instructed by

the United States Trustee; and

                10.    Proofs of claims or interests filed by creditors of any Debtor shall reflect

the style and case number of the Debtor to which the claim or interest relates and shall be filed in

the case to which such claim or interest relates. Separate claims registers shall be maintained for

each Debtor.

                11.    Nothing in this Order shall be deemed or construed as directing or

otherwise affecting the substantive consolidation of any of the above-captioned cases.

                                                   ###




Page 3 of 4 -    ORDER DIRECTING JOINT ADMINISTRATION PURSUANT TO
                 FRBP 1015(b)
                                               Tonkon Torp LLP
                                           888 SW Fifth Ave., Suite 1600
                                                Portland, OR 97204
                                                  503.221.1440
                      Case 19-62584-pcm11                 Doc 4            Filed 08/22/19
I certify that I have complied with the requirements of LBR 9021-1(a).

Presented by:

TONKON TORP LLP



By
      Albert N. Kennedy, OSB No. 821429
      Timothy J. Conway, OSB No. 851752
      Michael W. Fletcher, OSB No. 010448
      Ava L. Schoen, OSB No. 044072
      888 S.W. Fifth Avenue, Suite 1600
      Portland, OR 97204-2099
      Telephone: 503-221-1440
      Facsimile: 503-274-8779
      E-mail:      al.kennedy@tonkon.com
                   tim.conway@tonkon.com
                   michael.fletcher@tonkon.com
                   ava.schoen@tonkon.com
      Attorneys for Debtors

cc:      List of Interested Parties



009684/00004/10249530v1




Page 4 of 4 -       ORDER DIRECTING JOINT ADMINISTRATION PURSUANT TO
                    FRBP 1015(b)
                                             Tonkon Torp LLP
                                         888 SW Fifth Ave., Suite 1600
                                              Portland, OR 97204
                                                503.221.1440
                          Case 19-62584-pcm11           Doc 4            Filed 08/22/19
